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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 AZIZA VAFOKULOVA, individually and
 as Administratrix of the ESTATE OF                                     CIVIL ACTION
 BAHTIYOR VAFOKULOV, and on
 behalf of JOSE VAFOKULOV and
                                                                        NO. 17-2605
 REGINA VAFOKULOVA, minor children

              v.

 UA INTERNATIONAL CONSULTING
 CORP., ET AL.


        ORDER RE: SUBJECT MATTER JURISDICTION AND ATTORNEY’S FEES

Baylson, J.                                                                                       November17, 2017


          AND NOW, this 17th day of November, 2017, it is hereby ORDERED that Plaintiffs’

Motion to Remand (ECF 47) is GRANTED, the Plaintiffs’ “Addendum” to the Motion to

Remand (i.e., the Motion for Attorney’s Fees) (ECF 55) is DENIED with prejudice, and all open

motions on the docket are hereby DENIED as moot.




                                                                                                   BY THE COURT:

                                                                                      /s/ Michael M. Baylson
                                                                                       MICHAEL M. BAYLSON, U.S.D.J.




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